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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


  DAPHYNE BOWENS,                               §
                                                §
                                                §
  Plaintiff,
                                                §         Civil Action No.
                                                §         ECF
  v.
                                                §
                                                §
  AT&T SERVICES, INC.
                                                §
                                                §
  Defendant.                                    §



               PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND



TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        NOW COMES Plaintiff Daphyne Bowens and files this, her Original Complaint and Jury

Demand, and respectfully shows the following:

                                               I.
                                            PARTIES

   1.      Daphyne Bowens is an individual who now resides in Kilgore, Texas.

   2.      AT&T Services, Inc. (“AT&T”) is a Delaware Corporation with a principal place of

business at 208 S. Akard, Dallas, Texas 75202. AT&T can be served by serving its registered

agent, C T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                                           II.
                                JURISDICTION AND VENUE

   3.     This Court has subject matter jurisdiction to hear this complaint under 28 U.S.C. §1331

because this case asserts claims for violations of 42 U.S.C. § 12101 et seq.

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    4.     Personal jurisdiction over Defendant is appropriate because Defendant operates its

           business in the State of Texas. Further, an exercise of jurisdiction will not offend

traditional notions of fair play and substantial justice.

    5.     Venue is proper in this district under 42 U.S.C. §2000e-5(f)(3) because the alleged

unlawful employment practices were committed in Dallas County, Texas.

                                                III.
                                               FACTS

    6.     Ms. Bowens first began working for AT&T on or about May 8, 2000 as a service

representative.

    7.     Ms. Bowens was qualified for the positions she held with AT&T.

    8.     For the duration of her employment, Ms. Bowens always gave her best efforts to AT&T

and its employees.

    9.     Indeed, Ms. Bowens had no disciplinary history prior to her request for reasonable

accommodations and use of FMLA.

    10.    Ms. Bowens had every intention of working for AT&T until the time of her retirement.

    11.    Ms. Bowens suffers with chronic back pains, depression, and complications from a

gastric bypass. These disabilities substantially limit major life activities such as walking, standing,

and the operation of a major bodily function.

    12.    On or about March 8, 2010, Ms. Bowens was placed on a nine-month discipline plan

for excessive absences after not receiving reasonable accommodations and exhausting her FMLA

leave.

    13.    On or about March 28, 2011, due to a car accident, Ms. Bowens had arm surgery. When

she returned to work, she could not type because her arm was in a sling.




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    14.     Ms. Bowens did not request an accommodation. At this time, Ms. Bowens was ineligible

for FMLA due to not working the required number of hours.

    15.     A few months later, on or about October 17, 2011, Ms. Bowens was rushed to the

emergency room because her gallbladder was infected.

    16.      She later learned that she also had pneumonia. Due to her ineligibility for FMLA and

being placed on “decision-making leave”, Ms. Bowens continued to work, which caused her illness

to worsen.

    17.     Starting around February 2012 to December 2013, Ms. Bowens was subjected to

harassment for her attendance. At this time, she was ineligible for FMLA due to being out for her

disabilities.

    18.     In December 2013, Ms. Bowens filed a harassment complaint against coworkers.

    19.     AT&T’s human resources failed to respond to Ms. Bowens’ complaint and failed to take

prompt remedial action.

    20.     Later that month, in December 2013, Ms. Bowens’ colon collapsed, and she had to wear

a colostomy bag for a year.

    21.     Ms. Bowens was required to check and change her colostomy bag as needed throughout

the day.

    22.     When she returned back to work in March 2014, Ms. Bowens needed additional

bathroom breaks to check and change her colostomy bag. AT&T required Ms. Bowens to get an

accommodation request from her doctor because Ms. Bowens was spending too much time in the

bathroom.

    23.     Shortly thereafter, Ms. Bowens was criticized for having low performance numbers,

even though management was aware of Ms. Bowens’ disabilities and medical condition.



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Management informed Ms. Bowens that the reason for her low number was due to her frequent

bathroom breaks.

   24.     Between March 2014 and August 2015, Ms. Bowens had to have two more surgeries.

   25.     During this period, she was on and off disability leave. When she returned to work, she

requested an accommodation for additional bathroom breaks.

         26.     In May 2015, Ms. Bowens’ supervisor, Chiquita Campbell, informed Ms. Bowens

that her request for extra additional bathroom breaks was denied due to the needs of the business.

         27.     Ms. Bowens’ request for additional bathroom breaks was eventually approved until

2016.

         28.     In July 2015, Ms. Bowens was written up for disability-related absences that

occurred between December 2014 and March 2015.

         29.     Ms. Bowens’ doctor sent several accommodation requests to AT&T, which were

all denied.

         30.     In May 2016, Ms. Bowens filed a grievance with human resources because she was

being targeted for taking disability leave and requesting accommodations.

         31.     In her grievance, Ms. Bowens pointed out that AT&T did not follow its process

regarding the clean desk policy.

         32.     Again, human resources did not contact or follow up with Ms. Bowens regarding

her grievance.

         33.     During the last two years of Ms. Bowens’ tenure with AT&T, managers

consistently commented that people on disability/FMLA leave are causing the business to suffer.

         34.     Adrian Williams, a former Union Stewart, informed Ms. Bowens that she had been

targeted because she was using too much FMLA and her disabilities.



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        35.     It was reported that Cedric McKinney informed employees to report anyone who

were posting on Facebook while on leave.

        36.     Management continued to make threats that employees would lose their jobs if they

continued to take disability leave.

        37.     In the 4th quarter of 2017, Ms. Bowens and other employees were informed that

they could be transferred or surplus.

        38.     In 2017, employees, including Ms. Bowens, were informed that they would be laid

off.

        39.     Many employees who had disabilities, requested reasonable accommodations, and

had taken leave were selected for the layoff.

        40.     This layoff terminated employees who were suffering with disabilities and needed

reasonable accommodations.

        41.     Ms. Bowens filed a Charge of Discrimination with the U.S. Equal Employment

Opportunity Commission and has received his Notice of Right to Sue.

        42.     The EEOC made a cause finding in its investigation.

        43.     Ms. Bowens files this suit within the requisite 90 days of receiving said Notice of

Right to Sue.

        44.     All conditions precedent to the bringing of this suit have been satisfied or have been

fulfilled.

                                            IV.
                                DISABILITY DISCRIMINATON

        45.     Plaintiff incorporates the preceding paragraphs as if fully stated herein.

        46.     AT&T violated the Americans with Disabilities Act As Amended when it

discriminated against Ms. Bowens because of her disability and request for a reasonable


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accommodation.

        47.     AT&T is engaged in an industry affecting commerce and has 15 or more employees

during the relevant time period.

        48.     Plaintiff suffered and suffers from disabilities that limit one or more major life

activities.

        49.     Ms. Bowens was qualified for her position.

        50.     AT&T’s actions, including but not limited to its termination of Plaintiff and its

failure to accommodate Plaintiff, were undertaken because of Ms. Bowens’ disabilities in violation

of 42 U.S.C. § 12101 et seq.

        51.     AT&T’s actions were intentional and done with malice or reckless disregard.

        52.     Because of the actions of AT&T, Ms. Bowens suffered damages within the

jurisdictional limits of this court.

                                              V.
                                   DISABILITY RETALIATION

        53.     Plaintiff incorporates the preceding paragraphs as if fully stated herein.

        54.     As described above, AT&T’s actions constitute unlawful retaliation on the basis of

Ms. Bowens protected activity in violation of the ADAAA and the TCHRA. The employment

practices complained of above were intentional.

        55.     Ms. Bowens engaged in activities protected under federal and state law, including

filing complaints to HR and requesting reasonable accommodations.

        56.     AT&T subjected Ms. Bowens to adverse employment action by disciplining her

and terminating her employment.

        57.     AT&T subjected Ms. Bowens to these adverse employment actions because of her

engagement in protected activity.

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        58.       Because of the actions of AT&T, Ms. Bowens has suffered damages within the

jurisdictional limits of this Court.

                                                VI.
                                           JURY DEMAND

        59.       Plaintiff hereby makes a demand for a trial by jury on all issues, claims and defenses

in this action.

                                            VII.
                                    ATTORNEY FEES & COSTS

        60.       Plaintiff is entitled to an award of attorney fees and costs under 42 U.S.C. § 12205.

                                                 VIII.
                                               PRAYER

        61.       For these reasons, Plaintiff respectfully requests that the above-named Defendant

be cited to appear in this matter and that, after jury trial by proof, he be awarded:

                     i.   Back pay, including but not limited to, lost wages (salary and commissions)

                          and other employment benefits;

                    ii.   Reinstatement to Plaintiff’s position of employment, equivalent position of

                          employment, or the position of employment Plaintiff would have enjoyed

                          but for the discrimination and retaliation;

                   iii.   In the event that reinstatement is not feasible, front pay with respect to all

                          pay and benefits Plaintiff would have received but for the termination;

                   iv.    Judgment against Defendant for compensatory damages including

                          emotional pain, suffering, inconvenience, mental anguish, and loss of

                          enjoyment of life;


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                 v.    Actual damages;

                vi.    Punitive damages;

               vii.    Judgment against Defendant for Plaintiff's reasonable attorneys’ and

                       experts’ fees; and costs of suit; and

               viii.   Prejudgment and post-judgment interest as allowed by law;

                ix.    Such other and further legal and/or equitable relief to which Plaintiff may

                       be justly entitled.




                                              Respectfully submitted,

                                              By: /s/ Deontae D. Wherry
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